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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF LOUISIANA
                                        LAFAYETTE DIVISION


   TOTAL REBUILDO INC.'                                      )
                                                             )     No.   6   :   L5-cv-01855-TAD-CBW
        Plaintiff/Counter-D efen dant,                       )
                                                             )     JUDGE TERRY A. DOUGHTY
   vs                                                        )
                                                             )     MAGISTRATE JUDGE WHITEHURST
   PHC FLUID POWER, L.L.C.O                                  )
                                                             ) JURY              TRIAL DEMANDED
        D   efendant/C ounter-Claimant.                      )
                                                             )



                                    AFFIDAVIT OF RYAN GOUDELOCKE

  STATE OF LOUISIANA

  PARISH OF LAFAYETTE



            Before me, undersigned Notary Public, on the 10th day of October,2019, came and

  appeared Ryan          M. Goudelocke, and stated    as   follows



             I   .   I am a person of the age of maj ority, residing in Lafayette Parish, Louisiana.

            2. I have been licensed to practice law in the state of Louisiana since 2006; admitted       to

                     the bar of this District since approximately the same time; and have been a registered

                     Patent Attorney since 2015.

            3. I have reviewed         that "Defendant PHC Fluid Power, L.L.C.'s Motion for Rule        11


                     Sanctions and Other     Relief' (Rec. Doc. 332, the "Rule 11 Motion") and its


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             accompanying Memorandum in Support (Rec. Doc, 332-l); as well as that "Motion for

             Attorney's Fees, Expenses, and Costs Under 28 U.S.C. 1927" (Rec. Doc. 401) and its

             accompanying Memorandum in Support (Rec. Doc. 401-1), filed by Defendant, PHC

             Fluid Power, L.L.C., and this Affidavit is       addressed to those   filings' allegations   as


             concerns me personally.

        4.   I first participated in this matter as counsel for Plaintiff, Total Rebuild, Inc., the second

             week of August, 2019.     I assisted other counsel and was copied on correspondence
             begiruring approximately August 7 or 8,2019.My first correspondence with all counsel

             was on or about August 16,2019. My colleagues' motion for my enrollment as counsel

             for Total Rebuild was filed and granted on August 20,2019.

        5. I was uninvolved with and lack first-hand          knowledge about this matter (other than

             review of certain portions of the record, as described below) prior to my initial

             involvement as described in the preceding paragraph.

        6.   I largely drafted, and myself filed on September 6,2019, Total Rebuild's Memorandum

             in Opposition to the Rule 11 Motion.

        7. I understood the Rule 11 Motion to "focus[]        solely on the systems where there are no

             pumps inside the bunker," as PHC expressly limited it (Rec. Doc.332, p. 1, FN1).

        8. At the time of PHC's     filing the Rule 11 Motion, I had read U.S. Patent No. 8,146,428

             82 to Terry Lavergne (the "patent in suit").

        9.   My own reading of the patent in suit did not indicate that systems with pumps outside

             their explosion-proof safety housings could not infringe. Instead,        I understood the
             specification and the plain language of the claims, given their broadest reasonable

             interpretation, to cover systems with some, though not necessarily all, of their "high-



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           pressure pneumatics testing equipment" located inside an explosion-proof safety

           housing. Based on my review of the record, that latter term had not been construed by

           the Court to mean 'opumps," or anything else other than the meaning set forth in the

           specification, which included a "plurality of devices," and I did not find credible PHC's

           reading of the patent in suit to exclude from potential infringement systems with pumps

           outside bunkers, so long as those systems located at least some "high-pressure

           pneumatics testing equipment" inside their bunkers.

        10. To my knowledge and based on my review of the record, at the time of     filing the Rule

           11 Motion, PHC's assertion        in the motion that the Court had previously       issued

           "numerous rulings" that "there must be a pump in the explosion-proof housing" (Rec.

           Doc.332, p. 1) in order to infringe the patent in suit was incorrect. I was not then and

           am not now aware that the Court had so ruled except on the day preceding PHC's      filing,
                          o'numerous
           much less in                rulings."

        11.I read PHC's January 8,2019 "Motion in Limine Regarding Systems with Testing

           Equipment Outside of Housing" (Rec. Doc. 207) and accompanying memorandum

           (Rec. Doc. 208), in which PHC argued that "folnly safety systems in which the high-

           pressure testing equipment (e.g. the pumps) is located within or placed in an explosion-

           proof housing are relevant to support a claim for infringement" (Rec. Doc. 208, p. 3).

           I also read the Court's June 10,2019 disposition of that motion in limine (Rec. Doc.

           283), which denied the relief PHC sought except to the extent Total Rebuild had failed

           to sufficiently specify     accused systems       no later than its second supplemental
           infringement contentions.     I did not believe the Court's June ruling supported   PHC's

           statement in the Ruie 11 Motion that the law of the case then dictated that a pump was



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                 required to be present inside an explosion-proof safety housing in order to infringe the

                 patent in suit.

           12.   At or before the time of the Rule         11   Motion's filing, I had reviewed Total Rebuild's

                 claim-comparison chart (Rec. Doc. 1S9-10) submitted in connection with its second

                 supplemental infringernent contentions.           I noted that Total Rebuild had identified     as


                 infringing PHC systems which included various "high-pressure pneumatics testing

                 equipment" within housings, including                 but not limited to         "[high-pressure]

                 components," "pumps," "valve[s]," "controls and manual valves," "reservoirfs]," and

                 "pump/valve rack[s]" (Rec. Doc. 1 89- 10, pp. 9- 10). My impression from that chart was

                 that Total Rebuild had identified as potentially infringing systems with a variety of

                 high-pressure pneumatics testing equipment, including but not limited to pumps, inside

                 housings.     I   also noted that those infringement contentions identified potentially-

                 infringing systems with at least some high-pressure pneumatics testing equipment

                 inside bunkers in which the location of pumps was not specified. I understood Total

                 Rebuild's second supplemental infringement contentions to identify as infringing

                 specified systems with any "high-pressure pneumatics testing equipment," including

                 but not limited to pumps, inside housings.

          13.    I also   at the time of the Rule 11   Motion's filing had read PHC's July 26,2019 "Motion

                 in Limine Regarding Accused             Systems" (Rec. Doc      .   2g0) and   its   accompanying

                 memorandum in support (Rec. Doc. 290-4),which sought essentially the same relief as

                 PHC's January 8,2019 motion.l I assisted in drafting Total Rebuild's Memorandum in

                 Opposition (Rec. Doc.      3 19)   to that July 26 motion, which was filed on August 26,2019.




  I The later motion is sometimes identified in the record
                                                           as "Motion in Limine re Accused Systems Pumps Outside."

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              That memorandum contains material I drafted arguing that: a) Total Rebuild had not

              previously limited its infringement contentions to restrict "high-pressure pneumatics

              testing equipment" to mean only "pumps or pump systems;" b) the broadest reasonable

              interpretation ofthe claims in light ofthe specification covered systems withany "high-

              pressure pneumatics testing equipment," including any of the   "plurality of devices and

              types" of such equipment as defined by the specification, inside their housings; and c)

              PHC's contention then (as would be repeated in the Rule i 1 Motion) that the Court had

              earlier ruled "systems in which all the high-pressure pneumatics testing equipment is

              not within the explosion-proof housing cannot be raised in this case and cannot infringe

              any claim" (Rec. Doc. 290-4, p. 5) did not accurately reflect the Court's rulings at that

              time.

        14.   I explicitly noted in the above-described opposition memorandum (Rec. Doc. 319) the

              Court's prior observation of March 28,2019 (Rec. Doc. 263) that, in the context of

              striking Total Rebuild's third supplemental infringement contentions as untimely, that

              that set of contentions "target systems using pumps or pump systems within            an

              explosion-proof safety housing" (Rec. Doc. 263,p.2). The Court in FN2 of that ruling

              explained that Total Rebuild "did so by limiting 'high-pressure pneumatics testing

              equipment' to components located inside a safety housing." The patent in suit did limit

              itself to such equipment in such housings; but as I noted in the above-described

              opposition memorandum, "high-pressure pneumatics testing equipment" comprised

              not only pumps but a "plurality of devices" which, if located inside such housing, could

              infringe the plain language of at least some of the claims (Rec. Doc. 3r9, pp. 2-3).

              Moreover, the Court      did not in striking Total Rebuild's third         supplemental



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                 infringement contentions reach any finding that systems with pumps outside housings

                 could not infringe; instead,     it   ordered that Total Rebuild could not proceed on any

                 theory of infringement not sufficiently specified in earlier contentions (Rec. Doc. 263,

                 p. 6). As stated above, I had read the second supplemental infringement contentions to

                 include systems which located some high-pressure pneumatics testing equipment, not

                 necessarily including pumps, inside bunkers. The Court did not rule that Total Rebuild

                 could not pursue infringement claims against systems with pumps outside housings;

                 rather,   it   held that only systems sufficiently identified in the second supplemental

                 infringement contentions could be pursued.2 This holding was repeated in Rec. Doc.

                 283, yet PHC's memorandum in support of its Rule 11 Motion asserted (without

                 reference to the record) that the "Court has already reached determinations on the

                 location of the pumps numerous times" (Rec. Doc. 332-I,p. 5). I believed then, and

                 believe now, that PHC's representation to the Court of its own prior rulings was not

                 reasonably supportable by reference to the record.

           15. I was aware of PHC's August 27,2019 motion (Rec.               Doc. 324) for leave to file a reply

                 brief in support of its July 26 motion, which was denied (Rec. Doc. 325) the same day.

           16.   I read soon after their issuance on August 29,2019 the Court's Memorandum Ruling

                 (Rec. Doc. 327) and Order (Rec. Doc. 328) on PHC's re-urged motion to exclude

                 evidence on systems with pumps outside housings.




  2
   Whether the second supplemental infringement contentions were sufficiently specific as to a number of systems
  was the subject of separate motion practice. PHC moved (Rec. Doc. 296) to strike certain systems it believed were
  not precisely identified; the Court on September 9,2019 permitted as accused systems a list of 9 found to have been
  adequately specified (Rec. Docs. 375,376). That ruling came after the Ruie 11 Motion's filing, and after Total
  Rebuild's opposition to it was filed.

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        17.   While the Court agreed in its Memorandum Ruling that "the term 'high-pressure

              pneumatics testing equipment' is not limited to pumps" (Rec. Doc.327,p. 5), the Court

              did construe the claim term to "include at least one pump." Id. Therefore, the Court

              granted PHC's motion to exclude evidence concerning systems "to the extent that the

              pump or pumps of the accused system are located outside the recited 'explosion-proof

              safety housing"' (Rec. Doc. 327,p.6).

        18. To my knowledge, the Court's ruling on August       29,20Ig was its first construction of

              the term "high-pressure pneumatics testing equipment" to include at least one pump;

              the first ruling that precluded Total Rebuild from alleging infringement by systems

              without at least one pump inside a bunker, by virtue of that construction; and the first

              ruling to exclude such systems from evidence.

        i9. PHC filed its Rule   11   Motion the next day.

        20. My understanding of PHC's rationale for the Rule 11 Motion is that a) Total Rebuild

              knew or should have known in advance, at least as early as January 2019,that the Court

              would rule as it did on August 29,2019; andb) that August 29,20Ig ruling was such

              an obvious outcome that Total Rebuild's maintenance of contentions to the contrary

              was so "frivolous" and "baseless" as to have had "no chance of success" whatsoevet.

        21.As    I argued in Total Rebuild's    opposition (Rec. Doc. 368) to the Rule 11 Motion,

              PHC's position to me appeared (and still appears) absolutely untenable   -   leaving aside

              PHC's assertion in the Rule 11 Motion (and prior to it, repeatedly) that the Court had

              already ruled   to the same effect it did on August 29, which I again believe
              unsupportable by the record.




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             22. My own filings, and my participation in the preparation of those filings in this matter

                 which bear my narne, in support of Total Rebuild's infringement contentions at issue

                 in the Rule 1i Motion have been grounded in good-faith belief of their validity after

                 the above-described inquiries into the record laid down prior to my involvement. While

                 the Court's August 29,20Ig ruling eliminated the possibility of infringement by the

                 systems listed in the Rule 11 Motion,3 my review of the record indicated to me that the

                 Court had not earlier done so, and indeed that allegation of infringement by systems

                 with pumps outside housings was supported by the patent in suit, as discussed in my

                 opposition to the Rule 11 Motion.




             AND FURTHER, AFFIANT SAYETH NOT.


                                                                            GO                   Affiant




             SWORN TO AND SUBSCzuBED before me. this

  Lafayette, Louisiana.
                                                                               +c#,                October, 2019 at




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                                          Nd




  3
      Assuming for the sake of argument that those systems do not include at least one pump within their housings.

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